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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                            JUDGE ROBIN L ROSENBERG
                                                    MAGISTRATE JUDGE BRUCE REINHART


                                                /

 THIS DOCUMENT RELATES TO:                                          JURY TRIAL DEMANDED

 Ghia Atkins

                            SHORT-FORM COMPLAINT – VERSION 2

           The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

    Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained

    in the Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine)

    Products Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form

    Complaint – Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s

    Orders regarding motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

           Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and

    Causes of Actions specific to this case. Where certain claims require additional pleading or

    case specific facts and individual information, Plaintiff(s) shall add and include them herein.

           Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

       A. PLAINTIFF(S)

           1.      Plaintiff(s) Ghia Atkins (“Plaintiff(s)”) brings this action (check the
                   applicable designation):

                                  On behalf of [himself/herself];




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                                In representative capacity as the                    , on behalf of
                                the injured party, (Injured          Party’s         Name)
                                                          .

           2.      Injured Party is currently a resident and citizen of Pine Hills, Florida
                   claims damages as set forth below.

                                                      —OR—

                   Decedent died on       N/A . At the time of Decedent’s death, Decedent
                   was a resident and citizen of (City, State)  N/A     .

    If any party claims loss of consortium,

           3.            N/A        alleges damages for loss of consortium.

           4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff
                   is a citizen and resident of (City, State)     N/A      .

           5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City,
                   State)
                            N/A          .


       B. DEFENDANT(S)


           6.      Plaintiff(s) name(s) the following Defendants from the Amended Master
                   Personal Injury Complaint in this action:

                       a. Brand-Name Manufacturers:
                             GLAXOSMITHKLINE LLC;
                             GLAXOSMITHKLINE (AMERICA) INC.;
                             GLAXOSMITHKLINE PLC;
                             BOEHRINGER INGELHEIM PHARMACEUTICALS, INC;
                             BOEHRINGER INGELHEIM CORPORATION;
                             BOEHRINGER INGELHEIM USA CORPORATION;
                             SANOFI-AVENTIS U.S. LLC;
                             SANOFI US SERVICES INC.;
                             CHATTEM, INC.;
                             PATHEON MANUFACTURING SERVICES LLC

                       b. Generic Manufacturers:

                       c. Distributors and Repackager:

                       d. Retailers:




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                      e. Others Not Named in the AMPIC:
                            DOES 1-100


       C. JURISDICTION AND VENUE


          7.      Identify the Federal District Court in which Plaintiff(s) would have filed this
                  action in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable,
                  the District Court to which their original action was removed]:


                  UNITED STATES DISTRICT COURT FOR THE MIDDLE
                  DISTRICT OF FLORIDA

          8.      Jurisdiction is proper upon diversity of citizenship.


                                        II.     PRODUCT USE


          9.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                          [X]     By prescription

                          [ ]     Over the counter

          10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                  (month, year) 08/2015 to 12/2018.


                                     III.     PHYSICAL INJURY


          11.     As a result of the Injured Party’s use of the medications specified above,
                  [he/she] was diagnosed with the following specific type of cancer (check all
                  that apply):

     Check all   Cancer Type                                              Approximate Date of
     that                                                                 Diagnosis
     apply
     [X]         BLADDER CANCER                                                    12/01/2018




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      []              BREAST CANCER
      []              COLORECTAL CANCER
      []              ESOPHAGEAL CANCER
      []              GASTRIC CANCER
      []              KIDNEY CANCER
      []              LIVER CANCER
      []              LUNG CANCER
      []              PANCREATIC CANCER
      []              PROSTATE CANCER
                      OTHER CANCER:

                      DEATH (CAUSED BY CANCER)

               12.     Defendants, by their actions or inactions, proximately caused the injuries to
                       Plaintiff(s).


                                 IV.     CAUSES OF ACTION ASSERTED

               13.     The following Causes of Action asserted in the Amended Master Personal
                       Injury Complaint are asserted against the specified defendants in each class
                       of Defendants enumerated therein, and the allegations with regard thereto are
                       adopted in this Short Form Complaint by reference.

               14.     By checking the appropriate causes of action below, Plaintiff(s) assert these
                       causes of action based upon the law and applicable Sub-Counts of the
                       following state(s):1



           Check      Count                     Cause of Action                       States for which
           all that                                                                   the cause of action
           apply                                                                      was asserted in
                                                                                      the AMPIC
                        I     Strict Products Liability – Failure to Warn through     All States and
                              Warnings and Precautions (Against Brand-Name            Territories, Except
                              Manufacturer Defendants)                                DE, IA, MA, NC,
                                                                                      PA, and VA
                        II    Negligence – Failure to Warn through Warnings           All States and
                              and Precautions (Against Brand-Name                     Territories, Except
                              Manufacturer Defendants)                                LA, NJ, OH, and
                                                                                      WA
                       III    Strict Products Liability – Failure to Warn through     All States and
                              Proper Expiration Dates (Against Brand-Name and         Territories, Except
                              Generic Manufacturer Defendants)

 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues
 at a later time.

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       Check      Count                   Cause of Action                    States for which
       all that                                                              the cause of action
       apply                                                                 was asserted in
                                                                             the AMPIC
                                                                             DE, IA, MA, NC,
                                                                             PA, and VA
                   IV     Negligence – Failure to Warn through Proper        All States and
                          Expiration Dates (Against Brand-Name and           Territories, Except
                          Generic Manufacturer Defendants)                   LA, NJ, OH, OK,
                                                                             and WA
                   V      Negligence - Failure to Warn Consumers through     CA, DE, DC, HI,
                          the FDA (Against Brand-Name and Generic            IN, KY, LA, MD,
                          Manufacturer Defendants)                           MA, MN, MO,
                                                                             NV, NY, OR, and
                                                                             PA
                   VI     Strict Products Liability – Design Defect Due to   All States and
                          Warnings and Precautions (Against Brand-Name       Territories, Except
                          Manufacturer Defendants)                           DE, IA, MA, NC,
                                                                             PA, and VA
                   VII    Strict Products Liability – Design Defect Due to   All States and
                          Improper Expiration Dates (Against Brand-Name      Territories, Except
                          and Generic Manufacturer Defendants)               DE, IA, MA, NC,
                                                                             PA, and VA
                  VIII    Negligent Failure to Test (Against Brand-Name      KS, TX
                          and Generic Manufacturer Defendants)
                   IX     Negligent Product Containers: (Against Brand-      All States and
                          Name and Generic Manufacturers of pills)           Territories
                   X      Negligent Storage and Transportation Outside the   All States and
                          Labeled Range (Against All Retailer and            Territories
                          Distributor Defendants)
                   XI     Negligent Storage and Transportation Outside the   All States and
                          Labeled Range (Against All Brand-Name and          Territories
                          Generic Manufacturer Defendants)
                   XII    Negligent Misrepresentation (Against Brand-Name    CA only
                          Manufacturers by Generic Consumers in
                          California)
                  XIII    Reckless Misrepresentation (Against Brand-Name     MA only
                          Manufacturers by Generic Consumers in
                          Massachusetts)
                  XIV     Unjust Enrichment (Against All Defendants)         All States and
                                                                             Territories
                   XV     Loss of Consortium (Against All Defendants)        All States and
                                                                             Territories
                  XVI     Wrongful Death (Against All Defendants)            All States and
                                                                             Territories




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                  If Count XV or Count XVI is alleged, additional facts supporting the claim(s):




                                         V.     JURY DEMAND

            15.      Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.


                                   VI.        PRAYER FOR RELIEF

            WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’

    actions or inactions and demand(s) judgment against Defendants on each of the above-

    referenced causes of action, jointly and severally to the full extent available in law or equity,

    as requested in the Amended Master Personal Injury Complaint.



     DATED: 17th day of November, 2022                   Respectfully Submitted,
                                                         /s/ Paige N. Boldt
                                                         Paige N. Boldt
                                                         Texas State Bar No. 24082626
                                                         Mikal C. Watts
                                                         Texas State Bar No. 20981820
                                                         Alicia D. O’Neill
                                                         Texas State Bar No. 24040801
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                                                         Counsel for Plaintiff




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